

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1028-03






GWIN H. LONG, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TWELFTH COURT OF APPEALS


HENDERSON  COUNTY






		Cochran, J., delivered the opinion of the Court, in which Meyers, Price,
Womack, Johnson and Holcomb, JJ., joined.  Keasler, J., filed a dissenting opinion in
which Keller, P.J., and Hervey, J., joined.



O P I N I O N 



	The police officers in this case obtained a warrant to search the rural, gambling business
premises of "Train's" which was explicitly described as a "silver in color passenger train car." 
We conclude that this warrant did not authorize the search of appellant's home, an entirely
different and distinct structure-a red caboose-which was located nearby. 	There are, in fact,
two problems with the present search. (1)  First, there is no descriptive language in this warrant
that would authorize the search of appellant's home as well as a search of the separate and
independent business establishment.  Second, there are no facts set out in the affidavit that
would lead a reasonable officer executing this search warrant to have probable cause to believe
that the gambling devices, paraphernalia, and business records described within the search
warrant or affidavit would be found in appellant's home.  We conclude that the officers violated
Ms. Long's rights under the Fourth Amendment of the United States Constitution in their
search of her home.  Because the court of appeals, over a thoughtful dissent, held otherwise, (2)
we reverse its judgment and remand for further proceedings.

I.


	Sgt. Scott Wilson, an undercover officer for the Texas Attorney General's Special 

Crimes Unit conducted an investigation into illegal gambling operations at appellant's business
establishment, "Train's," which is located in a rural area of Henderson County.  Sgt. Wilson
went to "Train's" one evening to play eight-liner video gambling devices.  He spoke with
appellant, who told him that successful players were no longer rewarded with Wal-Mart gift
certificates, but they were entered into a weekly contest to win a dinner for two and $50.00
cash.  Sgt. Wilson returned on several other days, continued playing the eight-liners, and saw
others doing so as well.

	Based upon his investigation, Sgt. Wilson drafted a lengthy and thorough affidavit and
search warrant which authorized a search of the "Train's" premises as well as appellant's arrest. 
Other police officers executed this warrant, and they searched not only the business
establishment of "Train's," but also another train car located in the same vicinity, (3) and
appellant's home which was a nearby red caboose.  Neither of these structures were mentioned
in the warrant or affidavit.  The facts establishing probable cause to believe that appellant was
operating a gambling business, owned gambling paraphernalia, and kept records of gambling
activity specified activity only at the silver colored passenger train car.  When they searched
appellant's home, officers seized cash, bank records, Wal-Mart gift certificates, and the keys
to the eight-liner machines.

	At trial appellant objected to the admission of any items seized from her home because
the search warrant authorized a search only of "Train's."  She claimed that the search of her
home without either a warrant or exigent circumstances violated her Fourth Amendment rights. 
After hearing arguments, the trial court agreed with appellant and sustained her objection. (4)  At
the State's behest, however, the trial court changed its mind the next morning and allowed the
admission of all items taken from appellant's home, including $1,200 in cash found underneath
the mattress of her bed.

	The jury convicted appellant of five gambling offenses, and the trial court assessed a
sentence of 60 days in jail on each count, to be served concurrently, plus a fine of $1,000 on
each of the five counts.

	Appellant's sole point of error on appeal was that the trial court erred in admitting any
evidence seized from her red-caboose home because that search was illegal.  The court of
appeals' majority correctly noted that "[s]earch warrants and affidavits should be considered
in a common sense manner, and hypertechnical readings should be avoided." (5)  It then analyzed
a number of federal and state cases which had held that a search warrant describing a particular
residence or building may include, within its scope, other "outbuildings" or areas that are
closely connected to that described residence or building. (6)  After reviewing that relevant case
law, the court concluded that "the search warrant was properly construed as authorizing a
search of the red caboose. ... The fact that Appellant was also using the caboose as her
residence does not alter our view." (7)  Justice Griffith dissented and concluded that: 

	the search exceeded the parameters permitted by the search warrant, and
improperly intruded into the residence of Appellant without an authorizing
search warrant, and, therefore, evidence obtained in the search of Appellant's
residence should have been excluded from Appellant's trial. (8) 


We granted appellant's petition for discretionary review to resolve this disagreement on a
material question of law between justices on the same court of appeals. (9)

II.



  What "premises" does the search warrant and affidavit describe?


	One of the specific commands of the Fourth Amendment is that no warrant shall issue
except one "particularly describing the place to be searched." (10)  The present warrant and
affidavit, taken together, provide a remarkably specific description of the place to be searched. 
The affidavit begins with this description:

	1. THERE IS IN SEVEN POINTS, HENDERSON COUNTY, TEXAS, A
SUSPECTED PLACE AND PREMISES DESCRIBED AND LOCATED AS
FOLLOWS:


	An unnamed business establishment known locally as Train's is located at 1075
Pritchett Lane, Seven Points, Henderson County, Texas.  The structure is a silver
in color passenger train car.  The passenger train car is located north, 8/10 of a
mile from State Highway 334 on the west side of Pritchett Lane, Seven Points,
Henderson County, Texas.  In front of this silver in color passenger train car is
a black mail box located on the west side of Pritchett Lane with the numbers
"1075".  This is the only silver in color passenger train car located on Pritchett
Lane 8/10 of a mile north of State Highway 334, Seven Points, Henderson
County, Texas. (11)


From this superb description, we can go to Henderson County and find that silver passenger
train car.  We also know that there is only one such train car.  It is silver, it is a passenger car,
and it is a business.  It is not red, it is not a caboose, and it is not a home.  In front of this
solitary silver passenger train car business establishment is a black mail box with the numbers
"1075" written on it.  Finding that mail box will help us find the silver passenger car right
behind it.  

	Are we now to conclude that the affiant, having set out such an exemplary description
of the specific property to be searched, did not mean what he said?  Instead, was he really
seeking a warrant to search any and all structures near the described business, including
appellant's home?  The affiant officer testified at trial that he knew the red caboose was
appellant's home, so if he had probable cause to search her separate home as well as her
business establishment, why did he not say so?  Then the neutral magistrate could have decided
whether there was probable cause to believe that appellant kept gambling devices, paraphernalia
and business records in her home as well as at the nearby business.  To conclude that this
description of the specific property to be searched includes, sub silentio, the right to search
appellant's home subverts the objectives of the Fourth Amendment's Particularity Clause.

	The constitutional objectives of requiring a "particular" description of the place to be
searched include:  1) ensuring that the officer searches the right place; 2) confirming that
probable cause is, in fact, established for the place described in the warrant; 3) limiting the
officer's discretion and narrowing the scope of his search; 4) minimizing the danger of
mistakenly searching the person or property of an innocent bystander or property owner; and
5) informing the owner of the officer's authority to search that specific location. (12)   As one
federal court has stated:

	When investigators fail to limit themselves to the particulars in the warrant, both
the particularity requirement and the probable cause requirement are drained of
all significance as restraining mechanisms, and the warrant limitation becomes
a practical nullity. Obedience to the particularity requirement both in drafting
and executing a search warrant is therefore essential to protect against the
centuries-old fear of general searches and seizures. (13)


	Of course, "[a] search made under authority of a search warrant may extend to the entire
area covered by the warrant's description." (14)  And, when courts examine the description of the
place to be searched to determine the warrant's scope, they follow a common sense and
practical approach, not a "Procrustean" or overly technical one. (15)  

	For example, as we stated in Comeaux v. State, (16) when a warrant uses the legal term
"premises," courts should interpret its use in a given warrant to "portray the intent with which
it was embraced in the document." (17)  In Comeaux, officers obtained a warrant to search "a
certain place and premises," namely the defendant's "residence, No. 1700 Brooklyn Street,
City of Beaumont, Jefferson Co., Texas, the same being occupied and used by Walter Como
[sic] and others, as a private dwelling." (18)  This Court noted that a fair reading of this language
authorized the officers to search "not only the mansion house but the garage [located about 40-50 feet away from the house] upon the same lot forming a part of the curtilage." (19)  We reached
the common-sense conclusion that "it is not within the province of this court to declare that
the garage was not a part of the appellant's dwelling and therefore within the specific
designations contained in the affidavit and warrant." (20)  The right to enter and search a person's
home-his bedroom, his bathroom, his kitchen, all of his most intimate preserves-must surely
carry with it the right to search those areas less private and less protected that are nonetheless
part and parcel of his residence, areas such as a garage, tool shed, or chicken coop.  The right
to invade and rummage through a man's home-his personal private castle-necessarily includes
the right to search the less-private outbuildings.  The converse is not true.  Authorization to
search the stables does not carry implicit authority to search the master's bedroom.

	Thus, having described the business establishment known as Train's with such detail and
thoroughness, the officers clearly had a right to search every nook and cranny of that business
establishment-the silver passenger-train car with the "open" sign above the door.  Appellant's
home, however, was not within that business area. (21)  

	As the court of appeals in this case correctly noted, (22) cases from all jurisdictions have
followed the reasoning in Comeaux, and held that if a search warrant/affidavit authorizes the
search of a residence and its "premises," (23) then the officers may generally search outlying
structures within the curtilage of that residence. (24)  Similarly, a search warrant/affidavit that
authorizes the search of a specific business would include the search of nearby rooms or
outlying structures, such as storage sheds, garages, or garbage containers, that would naturally
serve some function for that business. (25)  

	But private homes and public businesses are not fungible items for purposes of  Fourth
Amendment protection.  Under the Fourth Amendment, appellant's humble little red caboose
is her home; it is sacrosanct, and it is as worthy of full constitutional protection as is the
grandest castle owned by the richest lord of the land.  "'At the very core' of the Fourth
Amendment 'stands the right of a man to retreat into his own home and there be free from
unreasonable governmental intrusion.'" (26) Government intrusion into one's home is
presumptively unreasonable under the Fourth Amendment unless the officers have a warrant
to enter that home. (27)  A warrant to enter a nearby business establishment which is open to the
public is not an "Open Sesame" for the home.  United States Supreme Court Justice Robert
Jackson eloquently articulated this constitutional position more than fifty years ago:

	Crime, even in the privacy of one's own quarters, is, of course, of grave concern
to society, and the law allows such crime to be reached on proper showing.  The
right of officers to thrust themselves into a home is also a grave concern, not
only to the individual but to a society which chooses to dwell in reasonable
security and freedom from surveillance.  When the right of privacy must
reasonably yield to the right of search is, as a rule, to be decided by a judicial
officer, not by a policeman or government enforcement agent. (28)


Before we hold that a search warrant for an alleged gambling business open to the public
implicitly authorizes the search of the business owner's separate, private home, we should be
certain that our understanding of the federal constitution is correct.

	Neither the parties nor the court of appeals have cited a single case in which a reviewing
court has held that the curtilage of a specifically described business enterprise includes the
entirely distinct and separate structure of the home of that business owner.  In this case, the
red-caboose home is located approximately thirty feet from the silver-passenger-car business
and is "blocked" by a tree. (29) Furthermore, the business, as a gambling establishment, is
obviously and explicitly "open" to the public:  the red-caboose home is not.  Furthermore,
there is no evidence that appellant invited business customers into the red caboose for business
purposes or that her home was otherwise accessible to those who visited the business.  Except
for mere physical proximity, there is no evidence in this record to suggest that the red-caboose
home was an outbuilding within the curtilage of the silver-passenger-car business.

	Based on the evidence in this case, we are unable to conclude that the description of the
business enterprise called "Train's" located in the silver passenger railroad car includes, within
its business curtilage, appellant's red-caboose home.  Furthermore, we believe that a
reasonable magistrate or officer, reading the description of "Train's" in the present search
warrant/affidavit in a common-sense, practical manner, could not conclude that the warrant also
authorized a search of appellant's red caboose home.  

	The State also argues that the officers could have reasonably believed, when they first
arrived, that the red caboose really was a part of the "Train's" business enterprise and not
appellant's home. (30)  There is, however, no evidence in the record that they did make this honest
mistake.  Further, such an initial mistake would not permit them to continue searching through
the red caboose once they discovered that they had crossed over the threshold of a private
home. (31)  

	In sum, we conclude that the specific description of the business premises to be
searched-the silver railroad passenger car-did not, as a matter of law or logic, implicitly
include authorization to search appellant's home-the separate little red caboose.

B.	What is the scope of probable cause for the authorized search as set out in the
warrant and accompanying affidavit?


	In the present case, the affiant exhaustively set out probable cause to believe that the
business known as "Train's" was an illegal gambling establishment.  The affiant's probable
cause section is clear and complete.  The search warrant and affidavit sought, and obtained,
judicial authority to "search for and seize implements, instruments, instrumentality's [sic],
proceeds and evidence used in the commission of the offenses of Gambling Promotion,
Keeping a Gambling Place, Possession of a Gambling Device and Possession of Gambling
Paraphernalia."  

	The affidavit set out probable cause to believe that appellant was a business owner and
operator of "Train's" and that police officers would find gambling equipment and paraphernalia,
including "electronic slot machines, multi- or eight-liners, [and] specialty gambling devices"
at the "Train's" business location.  The affiant, an undercover agent, stated that he had entered
"Train's" and seen these gambling devices, and that he had talked at length with appellant about
the gambling operations at "Train's." 

	Nowhere, however, did the affiant mention anything about appellant's home, a red
caboose, or any gambling paraphernalia or gambling records that might be kept in her home. 
He entered the public business and gambled; he watched others enter the business and gamble. 
The affiant noted that he:

	has found through past investigations and observations that the owner/operator
of these types of gambling devices will keep documents concerning the
machines, documents concerning the amount of money generated by these
machines, and other documents related to the operation of the business where
the machines are located usually in an office area(s) of these businesses or on
person(s) in care, custody and control of said business.


It was certainly reasonable for the affiant to conclude that business records relating to a
gambling operation would "usually" be located "in an office area(s) of these businesses," or,
perhaps on the person of the business owner. (32)  But he said nothing about the possibility or
probability of finding such items in the business owner's home.

	In sum, the affiant set out a great deal of information about the types of gambling
machines and devices used in the public premises of "Train's" and his use of those public
premises.  No reasonable person reading this long, logical, and carefully drafted affidavit
would conclude that appellant had a home nearby or that the affiant had probable cause to
believe that she used her home as part of the business enterprise conducted at "Train's."

	The Fourth Amendment Warrant Clause limits its authorization to the specific areas and
things for which there is probable cause to search, thereby ensuring that:

	the search will be carefully tailored to its justifications, and will not take on the
character of the wide-ranging exploratory searches the Framers intended to
prohibit.  Thus, the scope of a lawful search is "defined by the object of the
search and the places in which there is probable cause to believe that it may be
found.  Just as probable cause to believe that a stolen lawnmower may be found
in a garage will not support a warrant to search an upstairs bedroom, probable
cause to believe that undocumented aliens are being transported in a van will not
justify a warrantless search of a suitcase." (33)


	In the present case, there is no suggestion (much less facts amounting to probable
cause) in the warrant or the affidavit that any of the gambling machines, paraphernalia, or
business records that the officers were authorized to seize, would be found in appellant's
home.  This is like looking for the stolen lawnmower in the upstairs bedroom.   The lawnmower
could be in the bedroom, but there is no probable cause to believe that it is there.  	We agree
with Justice Griffith who dissented in the court of appeals:

	Had [the affiant] wanted to search the red caboose, which was established as
being known as Appellant's residence, he had only to include sufficient
information in his affidavit to establish probable cause to search the Appellant's
residence, the red caboose, and, based on that probable cause affidavit, to obtain
a search warrant for the red caboose, duly signed by the reviewing magistrate. (34)


Like Justice Griffith, we conclude that the trial court should have stayed with its original,
correct ruling excluding the evidence obtained from this unlawful search of appellant's home. 
We therefore reverse the decision of the court of appeals and remand the case to that court for
further proceedings consistent with this opinion.

Cochran, J.

Delivered: April 21, 2004.

Publish
1.  We granted the following ground for review:

	The Court of Appeals' opinion, holding that the trial court's finding that the officers
executing the search warrant did not exceed the scope of the warrant by searching
Appellant's residence which was not specifically described in the warrant resulting in an
illegal search in violation of the Fourth Amendment to the United States Constitution
and art. I § 9 of the Texas Constitution.
2.  Long v. State, 108 S.W.3d 424 (Tex. App.-Tyler 2003).
3.  The officers did not take anything from this structure.
4.  The State argued that the search warrant authorized the search of "the adjacent buildings
which were also under the control and possession of the same person" as the owner of "Train's."

	The trial court asked: 

	If he [Sgt. Wilson] wanted to search the other train car, why was it not specifically set
forth in the warrant and the affidavit?  What color is the other train car? ... You know,
you were referring to, in the affidavit earlier it talks about the silver car.  It never
mentions a red car or any outbuildings or other buildings located on the property."

When the State told the trial judge that "[t]he third building searched is also a train or a box car of some
sort, is it not?", the trial judge responded: 

	We have a third building that was searched? ... When [sic] was the third building
located?  How many buildings do we have on this premises? ...If there's more than one
building located on these premises, why weren't they described also? ... I note here on
the silver train on State's Exhibit 3, above the doors there's a sign that says "open."  I
assume, you know, that kind of indicates maybe a business entity.  It's open.  Did the
red car have any kind of sign on it that says "open" or "come on in"?

It did not.  After considering all of the arguments, the trial court sustained appellant's objection.
5.  Long, 108 S.W.3d at 426.
6.  Id. at 426-28.
7.  Id. at 428.
8.  Id. at 429 (Griffith, J., dissenting).
9.  Tex. R. App. P. 66.3(e).
10.  U.S. Const. amend. IV. 
11.  The search warrant begins by stating that the affidavit "is by this reference incorporated
herein for all purposes," and then continues:  "I find that the AFFIANT has probable cause for the
belief he expresses therein and establishes the existence of proper grounds for the issuance of this
warrant and is commanded to search the location described in the incorporated affidavit."  The warrant
continues:  "YOU ARE THEREFORE COMMANDED, to enter and search the said suspected place
and premises, to wit:  unnamed business known as "Train's", 1075 Pritchett Lane, Seven Points,
Henderson County, Texas, which is incorporated for all purposes herein [sic; presumably the warrant
inadvertently omitted words to the effect of "as described in the attached affidavit" before the phrase
"which is incorporated by all purposes herein]."

	It is well settled that when the affidavit is attached to the warrant, these documents should be
considered together as defining the place to be searched, but the description in the affidavit controls
over the language in the warrant itself.  Riojas v. State, 530 S.W.2d 298, 303 (Tex. Crim. App.
1975).   Thus, the admirably specific description of the business establishment to be searched as
described in the present affidavit controls over the less precise description in the warrant itself.  Id.
12.  See Berger v. New York, 388 U.S. 41, 58 (1967) ("'[t]he proceeding by search warrant is
a drastic one,' and must be carefully circumscribed so as to prevent unauthorized invasions of 'the
sanctity of a man's home and the privacies of life.' ... The Fourth Amendment's requirement that a
warrant 'particularly describ[e] the place to be searched, and the persons or things to be seized,'
repudiated these general warrants and 'makes general searches ... impossible and prevents the seizure
of one thing under a warrant describing another'") (internal citations omitted); see generally 2 Wayne
R. LaFave, Search and Seizure, § 4.5, at 513 (3d ed. 1996); see also Etchieson v. State, 574
S.W.2d 753, 759 (Tex. Crim. App. 1978) (description of property in warrant must be sufficient to
enable executing officer to locate and distinguish the property from others in the community); Bridges v.
State, 574 S.W.2d 560, 562 (Tex. Crim. App. 1978) (description of place to be searched must be
sufficiently specific to protect innocent parties from a reasonable probability of a mistaken execution of
a defective warrant); Chambers v. State, 508 S.W.2d 348, 352 (Tex. Crim. App. 1974) (requirement
that a search warrant be specific prohibits general searches and prevents the vesting of complete
discretion in the officer who executes the warrant); Taylor v. State, 974 S.W.2d 851, 856 (Tex.
App.-Houston [14th Dist.] 1998, no pet.) (setting out five objectives of the Particularity Clause and
rationales for them).
13.  United States v. Heldt, 668 F.2d 1238, 1257 (D.C. Cir. 1981).
14.  2 Wayne R. LaFave, Search and Seizure, § 4.10(a), at 654 (3d ed. 1996).
15.  See United States v. Ventresco, 380 U.S. 102, 108 (1965); Ker v. California, 374 U.S.
23, 33 (1963). 
16. 118 Tex. Crim. 223, 228-29, 42 S.W.2d 255, 258 (1931) (op. on reh'g). 
17.  Id. at 228.
18.  Id. at 225. 
19. Id. at 229. 
20. Id.
21.  Compare Amir v. State, 45 S.W.3d 88, 90-91 (Tex. Crim. App. 2001) (when defendant
"carved out" a portion of his business premises and used that connected portion as his residence, a
warrant that specified the business address included the residence as well).
22.  Long, 108 S.W.3d at 426-28 (collecting and discussing pertinent cases from Texas and
other jurisdictions).
23.  It is true that some of this Court's earlier cases had used the phrase "place and premises" as
a magical incantation and reached conclusions based more on technicalities than common sense.  For
example, in Riojas v. State, 530 S.W.2d 298 (Tex. Crim. App. 1975), this Court held that because
the warrant affidavit specifically described only the defendant's residence and two cars, the search of a
tin shed behind the house-a location in which the defendant had told the affiant he stored "several lids
of marijuana"-was not authorized by the warrant, even though the shed was  admittedly within the
curtilage of the house, and even though the affidavit requested authorization to search "the above
premises."  Id. at 300.  Similarly, in McTyre v. State, 113 Tex. Crim. 31, 19 S.W.49 (1929), the
affidavit described the place to be searched as a "private residence," while the warrant commanded the
officers to search the "private residence, outbuildings and premises occupied by the appellant."  Id. at
32, 19 S.W. at 49-50.  The officers searched not only the residence but also an outhouse
approximately 75 feet from the house as well as a chicken house.  This Court held that both the
outhouse and chicken house were within the curtilage of the residence, but nonetheless, they were not
specifically described within the affidavit which did not, like the warrant, include the magic phrase
"place and premises."  Therefore, the search of the outbuildings was illegal.  Inclusion of the phrase
"place and premises" should neither add to, nor detract from, a commonsensical and reasonable
description of the location to be searched. 
24. See generally, Rachel A. Campbell, Search Warrant as Authorizing Search of Structures
on Property Other Than Main House or Other Buildings or Locations Other Than Designated
Portion of Building, 104 A.L.R.5th 165 (2002); see, e.g., Cantu v. State, 557 S.W.2d 107 (Tex.
Crim. App. 1977) (chicken coop, 100-125 feet away from house, surrounded by fence attached to
hurricane fence surrounding house, within "curtilage" when search warrant affidavit described premises
as a "gray frame, 2 story residence surrounded by a hurricane fence and trees and curtilage (sic)"); see
also United States v. Bennett, 170 F.3d 632, 638 (6th Cir. 1999) (search of shop building covered
by warrant that identified premises by street name and number and described house and detached shop
building); United States v. Estrella, 104 F.3d 3, 9 (1st Cir. 1997) (when search warrant for residence
described premises "as a blue cape-style house with breezeway connecting a two-car garage" at
specific location, "the common-sense meaning of the warrant was that the area to be searched included
the garage"); United States v. Earls, 42 F.3d 1321, 1327 (10th Cir. 1994) (concluding that a warrant
that authorized search of residence also authorized search of detached garage, shed and office because
those are the types of buildings which are typically part of he curtilage of a residence); United States v.
Moore, 743 F.2d 254, 256 (5th  Cir. 1984) (search of garage not connected to described house was
within scope of warrant permitting search of "building, house or place" of defendant); United States v.
Anderson, 485 F.2d 239-40 (5th Cir. 1973) (flowerbed outside house part of "residence" and subject
to search); but see State v. Barnett, 788 S.W.2d 572, 575-77 (Tex. Crim. App. 1990) (mere arrival
of a car on property for which search warrant has been issued, without more, does not permit officers
to search vehicle as being within curtilage of residence);  United States v. Watkins, 179 F.3d 489,
494-95, 499 (6th Cir. 1999) (search warrant description of residential property to be searched which
failed to mention second, uninhabited house on property insufficient to justify its search under warrant,
but "good faith" exception allowed use of seized evidence).
25.  See, e.g., Canady v. State, 582 S.W.2d 467, 468-69 (Tex. Crim. App. 1979) (although
search warrant specified a particular office to be searched, when officers arrived and saw that partition
between two offices had been removed for remodeling and "the area appeared to be one large room,"
drugs found in tool chest within that room, but in area that had been part of separate office, were
admissible as being seized within scope of warrant); see also United States v. Heldt, 668 F.2d 1238,
1263-66 (D.C. Cir. 1981) (when warrant authorized a search of "the suite of offices of Mr. Henning
Heldt" it was "logical for officers to assume" that penthouse office "hut," located nine feet across open
terrace from primary penthouse office and accessible through French doors was part of that same suite
of offices); United States v. Wright, 468 F.2d 1184, 1186 (6th Cir. 1972) (in prosecution for illegal
gambling activities, search warrant for "the premises known as The New Plaza Lounge" covered the
attached one-story cement block building described by patrons as "the back room" where the gambling
was actually conducted); United States v. Stefonek, 179 F.3d 1030, 1032 (7th Cir. 1999) (search of
business suite number 104 adjacent to suites 101-103 specifically listed in search warrant was
authorized, especially since single front door to all four suites was marked "Suite 101" and division of
the interior into separately numbered suites was "obscure"); United States v. Judd, 687 F. Supp.
1052, 1054, 1059-60 (N.D. Miss 1988) (when search warrant authorized search of premises of
"Kilgore Mining Company" to seize bookkeeping and accounting records, officers were justified in
following owner out front entrance of company office, through breezeway, and into bookkeeping
office), aff'd, 889 F.2d 1410 (5th Cir 1989); People v. Fitzwater, 260 Cal. App.2d 478, 483, 488
(1968) (warrant that authorized search of warehouse "occupied by Hart Trucking Company, and
appurtenances," also authorized search of immobile van on company's block-long lot); compare
United States v. Kaye, 432 F.2d 647-49 (D.C. Cir. 1970) (search warrant to search No. 3618,
defendant's business, did not authorize search of 3618 ½, a second floor residence with separate
entrance but part of same building leased in its entirety to defendant; "[t]he store and apartment were
separate and distinct; there was no door or direct passage between them").  As the court of appeals in
Kaye explained:

	The store and apartment were not an integrated unit but were two separate and distinct
parts of the building.  There was no access to the apartment from the store and no
apparent connection between the two.  The arrangement is typical of that so frequently
existing in urban communities, where living quarters are found over stores.  When a
store and an apartment are thus arranged a warrant authorizing search of the store-as
this warrant did-can hardly be stretched to justify an intrusion into the apartment,
regardless of language in the supporting affidavit which might be construed more
broadly.

Id. at 659; see also Keiningham v. United States, 287 F.2d 126, 129 (D.C. Cir. 1960) (officers had
search warrant for gambling operations at 1106 18th Street, but when they arrived at that row house,
four men fled through a "freshly cut door" on porch into adjoining house at 1108; officers followed and
found gambling operations there, but their search of adjoining house was unlawful as outside the scope
of the search warrant; rejecting government's contention "that 1108 became part of 1106 because of
the use to which the two houses were put by appellants" because "[t]he authority to search is limited to
the place described in the warrant and does not include additional or different places").
26.  Kyllo v. United States, 533 U.S. 27, 31 (2001); see also United States v. United States
District Court, 407 U.S. 297, 313 (1972) ("the physical entry of the home is the chief evil against
which the wording of the Fourth Amendment is directed").
27.  Payton v. New York, 445 U.S. 573, 586 (1980).
28. Johnson v. United States, 333 U.S. 10, 14 (1948).
29.  On appeal, the parties differ as to the actual distance between the two structures.  As neither
the parties nor the trial court considered the physical distance between the two railroad cars particularly
important to the court's ruling, we do not find this distance determinative either.
30.  See Amir, 45 S.W.3d at 94 ("[a]t the time the search was conducted, was it reasonable for
the police to believe that the loft residence area was part of U.S. Apparel's premises?"; concluding that
it was) (Keller, P.J., concurring).
31.  In Maryland v. Garrison, 480 U.S. 79 (1987), the Supreme Court explained what a
reasonable officer should do when he discovers that he has made an honest mistake in executing an
otherwise valid warrant.  In Garrison, the affiant obtained a warrant for a third floor apartment not
knowing that there were really two separate apartments on the third floor.  The executing officers
mistakenly entered the wrong one.

	If the officers had known, or should have known, that the third floor contained two
apartments before they entered the living quarters on the third floor, and thus had been
aware of the error in the warrant, they would have been obligated to limit their search
to McWebb's apartment.  Moreover, as the officers recognized, they were required
to discontinue the search of respondent's apartment as soon as they discovered
that there were two separate units on the third floor and therefore were put on
notice of the risk that they might be in a unit erroneously included within the
terms of the warrant.  The officers' conduct and the limits of the search were based
on the information available as the search proceeded.  While the purposes justifying a
police search strictly limit the permissible extent of the search, the Court has also
recognized the need to allow some latitude for honest mistakes that are made by
officers in the dangerous and difficult process of making arrests and executing search
warrants.

480 U.S. at 86-87 (emphasis added).  That is, a reasonable and honest mistake in the execution of the
warrant is excused if, but only if, the officers do not take advantage of their mistake once they discover
it.  

	In the present case, for example, had the evidence showed that the officers reasonably believed
that the red caboose was really a part of the "Train's" business establishment, their honest mistake in
crossing over the threshold of appellant's home would not prevent them from making a valid search
under authority of a second search warrant if that warrant set out probable cause to search appellant's
home.  The original honest and reasonable mistake would not, however, allow the officers to continue
their unlawful search once they discovered their error.	
32.  The officers executing the warrant testified that appellant was coming out of the red caboose
when they first arrived to arrest her and search the business.  Certainly the officers could search
appellant's person when they arrested her, but the mere fact that she walked out of the red caboose
when they approached does not logically imply that the red caboose was, therefore, part of the
"Train's" business enterprise.  
33.  Maryland v. Garrison, 480 U.S. 79 at 84-85 (quoting United States v. Ross, 456 U.S.
798, 824 (1982)) (footnote omitted).
34.  Long, 108 S.W.3d at 430 (Griffith, J., dissenting).


